  Case 4:22-cv-01279 Document 10 Filed on 05/17/22 in TXSD Page 1 of 3
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    May 17, 2022
                       UNITED STATES DISTRICT COURT                              Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
United States of America, et al.        §     CIVIL ACTION NO.
      Plaintiff,                        §     4:22−cv−01279
                                        §
                                        §
   vs.                                  §     JUDGE CHARLES ESKRIDGE
                                        §
                                        §
City of Baytown, Texas                  §
      Defendant.                        §



                         ORDER FOR CONFERENCE AND
                      DISCLOSURE OF INTERESTED PARTIES
         1.   Counsel and all parties appearing pro se shall appear for
              an initial pretrial conference:

                            August 10, 2022, at 10:30 AM
                           Before the Hon. Charles Eskridge
                                 United States Judge
                                     Courtroom 8B
                              United States Courthouse
                                    515 Rusk Street
                                 Houston, TX 77002

         2.   Within 90 days of filing the complaint or removing this
              suit from state court, the plaintiff or plaintiffs filing this
              suit or the party removing it must serve the opposing
              party or parties with copies of:

                  o   This Order;
                  o   The summons and complaint;
                  o   The Court's procedures with all attachments.

              Failure to file proof of service within that time may result
              in dismissal by the Court on its own initiative. See FRCP
              4(m).
Case 4:22-cv-01279 Document 10 Filed on 05/17/22 in TXSD Page 2 of 3




      3.   Within 15 days of receiving this Order, counsel for each
           party must file a list identifying all known attorneys of
           record and all persons or entities that are financially
           interested in this litigation, including parent, subsidiary,
           and affiliated corporations. An individual listing is not
           necessary when a group description is effective
           disclosure. Underline the names of corporations with
           publicly traded securities. Promptly amend the list
           whenever new parties or counsel are added or additional
           interested persons or entities are identified.

      4.   At least 14 days before the initial pretrial conference,
           counsel and all parties appearing pro se must complete
           and file the Joint Discovery/Case Management Plan using
           the form attached to the Court's procedures. See FRCP
           26(f).

      5.   Prior to the conference, the Court will typically enter a
           scheduling and docket control order. If none is entered, or
           if the parties will request a schedule different from one
           that has been entered, counsel must complete and file as
           an attachment to the Joint Discovery/Case Management
           Plan a joint proposed scheduling and docket control order
           using the form referenced in the Court's procedures. The
           parties must confer in good faith to seek agreement on
           deadlines for completion of all pretrial matters. Clearly
           identify any disagreements with reasons in support of the
           requests made.

      6.   By the day of the conference, counsel must interview
           their clients and read all relevant documents.

      7.   In advance of the conference, counsel must also discuss
           alternative dispute resolution with their clients and each
           other. At the conference, the Court will consider potential
           ADR methods suited to this case.

      8.   Counsel designated of record as attorney-in-charge must
           appear at the initial pretrial conference. The Court
           permits substitution of counsel for this conference only
           on showing of good cause. File and seek ruling on any
           such motion well in advance of the conference.
Case 4:22-cv-01279 Document 10 Filed on 05/17/22 in TXSD Page 3 of 3




      9.   The Court may address any pending motion at the
           conference. Any counsel or pro se party who appears at
           the conference must be:
              o   Fully familiar with the facts and the law
                  applicable to the case;
              o   Prepared to argue any pending motion and to
                  discuss any anticipated motion;
              o   Prepared to discuss potential alternative dispute
                  resolution methods suited to the case; and
              o   Authorized to bind the client on all matters
                  discussed at the conference.

      10. In any case set for an initial conference before the
          Magistrate Judge, she is granted authority (even when the
          case hasn't been entirely referred) in her discretion to:
              o   Adjust the date of the conference as needed;
              o   Adjust the scheduling and docket control order as
                  needed;
              o   Address and resolve and/or make
                  recommendation upon any pending motion;
              o   Undertake settlement conference upon joint
                  request; and
              o   Enforce all orders issued pursuant to his authority.

      11. The parties are bound by this Order, the papers
          mentioned in paragraphs 4 and 5 above, and the dates set
          out in the scheduling and docket control order to be
          entered in this case.

      12. Failure to comply with this Order may result in sanctions,
          including dismissal of the action and assessment of
          expenses.

                                    BY THE ORDER OF THE COURT
